Case 2:22-cv-02632-CCC-CLW     Document 360    Filed 08/27/24   Page 1 of 4 PageID:
                                    30959



SILLS CUMMIS & GROSS P.C.
Jeffrey J. Greenbaum
Katherine M. Lieb
One Riverfront Plaza
Newark, New Jersey 07102
(973) 643-7000

PATTERSON BELKNAP WEBB & TYLER LLP
Adeel A. Mangi
Harry Sandick (admitted pro hac vice)
George LoBiondo
1133 Avenue of the Americas
New York, New York 10036
(212) 336-2000

Attorneys for Plaintiff
Johnson & Johnson Health Care Systems Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                      :
 HEALTH CARE SYSTEMS INC.,                  Civil Action No. 22-2632(JKS)(CLW)
                                        :
                  Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                        :   Hon. Cathy L. Waldor, U.S.M.J.
 v.                                         Hon. Freda L. Wolfson, Special Master
                                        :
 SAVE ON SP, LLC,                           NOTICE OF MOTION TO SEAL
                                        :
                  Defendant.
                                        :

COUNSEL:

      PLEASE TAKE NOTICE that on October 7, 2024 at 9:00 a.m. in the

forenoon, or as soon thereafter as counsel may be heard, the undersigned attorneys

for plaintiff Johnson & Johnson Health Care Systems Inc. (“JJHCS”), together
Case 2:22-cv-02632-CCC-CLW       Document 360     Filed 08/27/24   Page 2 of 4 PageID:
                                      30960



with counsel for defendant Save On SP, LLC (“SaveOnSP”), will apply before the

Honorable Freda L. Wolfson, Special Master at the United States District Court for

the District of New Jersey, Martin Luther King Building & U.S. Courthouse, 50

Walnut Street, Newark, New Jersey 07101, for an Order, to

      (a)   Permanently maintain under seal the following letters and supporting

            exhibits filed by counsel for the parties:

            (i)     SaveOnSP’s Motion to Compel JJHCS to Produce “Best Price”

                    Certifications, dated April 18, 2024, with related briefing on

                    May 2 and May 9, 2024 (ECF No. 285, filed May 13, 2024);

            (ii)    SaveOnSP’s Motion to Compel JJHCS to Produce TrialCard

                    Documents, dated April 19, 2024, with related briefing on May

                    7 and May 17, 2024 (ECF No. 312, filed June 12, 2024); and

            (iii)   SaveOnSP’s Motion to Compel JJHCS to Produce Documents

                    from the Janssen Entities, dated April 22, 2024, with related

                    briefing on May 14 and May 21, 2024 (ECF No. 313, filed June

                    12, 2024);

      (b)   Permit JJHCS to file the proposed public versions of ECF Nos. 285,

            312, and 313, attached as Exhibits A, B, & C to the Declaration of

            Jeffrey J. Greenbaum submitted in support of this motion

            (“Greenbaum Declaration”).



                                         2
Case 2:22-cv-02632-CCC-CLW       Document 360    Filed 08/27/24   Page 3 of 4 PageID:
                                      30961



      PLEASE TAKE FURTHER NOTICE that in support of this motion, JJHCS

will rely on the accompanying Greenbaum Declaration and the indices in support

of Motion to Seal. A proposed form of Order is also attached.

      PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule

7.1(d)(4), no brief is necessary inasmuch as the application presents issues that are

a matter of familiarity to the Court.

                                        Respectfully submitted,

                                        SILLS CUMMIS & GROSS P.C.
                                        One Riverfront Plaza
                                        Newark, New Jersey 07102
                                        (973) 643-7000

                                        By:   s/ Jeffrey J. Greenbaum
                                              JEFFREY J. GREENBAUM
                                              KATHERINE M. LIEB

                                        PATTERSON BELKNAP
                                        WEBB & TYLER LLP
                                        Adeel A. Mangi
                                        Harry Sandick (admitted pro hac vice)
                                        George LoBiondo
                                        1133 Avenue of the Americas
                                        New York, New York 10036
                                        (212) 336-2000

                                        Attorneys for Plaintiff Johnson & Johnson
                                        Health Care Systems Inc.


                                        By: s/ E. Evans Wohlforth, Jr.
                                               E. EVANS WOHLFORTH, JR.
                                        ROBINSON & COLE LLP
                                        666 Third Avenue, 20th Floor

                                          3
Case 2:22-cv-02632-CCC-CLW   Document 360   Filed 08/27/24   Page 4 of 4 PageID:
                                  30962



                                  New York, NY 10017-4132
                                  Main (212) 451-2900
                                  Fax (212) 451-2999
                                  ewohlforth@rc.com


                                  Philippe Z. Selendy (admitted pro hac vice)
                                  Andrew R. Dunlap (admitted pro hac vice)
                                  Meredith Nelson (admitted pro hac vice)
                                  Elizabeth H. Snow (admitted pro hac vice)
                                  SELENDY GAY PLLC
                                  1290 Avenue of the Americas
                                  New York, NY 10104
                                  (212) 390-9000
                                  pselendy@selendygay.com
                                  adunlap@selendygay.com
                                  mnelson@selendygay.com
                                  esnow@selendygay.com

                                  Attorneys for Defendant Save On SP, LLC



Dated: August 27, 2024




                                    4
